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Archives of Sexual Behavior
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    LETTER TO THE EDITOR



Puberty Blockers and Suicidality in Adolescents Suffering from Gender
Dysphoria
Michael Biggs1

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According to Turban, King, Carswell, and Keuroghlian (2020),                who underwent medical intervention and then subsequently
suicidal ideation is lower in transgender adults who as adoles-             stopped identifying as transgender. Obviously, those who actu-
cents had been prescribed “puberty blockers”—gonadotropin-                  ally committed suicide are omitted. Aside from these general
releasing hormone analogs (GnRHa). This finding was derived                 problems with the survey, the key questions on puberty block-
from a large nonrepresentative survey of transgender adults in              ers evidently confused many respondents. Puberty blockers are
the U.S., which included 89 respondents who reported tak-                   given below the age of 16 years, when adolescents become
ing puberty blockers. Turban et al. (2020) tested six measures              eligible for cross-sex hormones (Hembree et al., 2009). Yet,
of suicidality and three other measures of mental health and                73% of respondents who reported having taken puberty block-
substance abuse. With multivariate analysis, only one of these              ers (question 12.9) said they started on them after the age of
nine measures yielded a statistically significant association: the          18 years. As the survey report acknowledged, “the question may
respondents who reported taking puberty blockers were less                  have been misinterpreted by some respondents who confused
likely to have thought about killing themselves than were the               puberty blockers with the hormone therapy given to adults and
respondents who reported wanting blockers but not obtaining                 older adolescents” (James et al., 2016, p. 126). Turban et al.
them. This finding was widely reported in the media; the lead               (2020) did not mention this misinterpretation but did follow
author published a column on its implications for health policy             the report’s mitigation strategy of ignoring those respondents
in the New York Times (Turban, 2020).                                       who reported taking puberty blockers after the age of 18. No
    Unfortunately, the finding came from a low-quality survey               such adjustment is possible, however, for the question ask-
which is known to have elicited unreliable answers on puberty               ing whether the respondent had ever wanted puberty blockers
blockers. The analysis assumed that puberty blockers were                   (question 12.8), which Turban et al. (2020) used to define the
available in the U.S. several years before they actually were.              subset of respondents in their analysis. The comparison group
Most seriously, Turban et al. (2020) barely acknowledged the                therefore included an unknown number of respondents—pos-
fact that adolescents with severe psychological problems would              sibly the majority—who actually wanted cross-sex hormones.
have been less eligible for drug treatment, which confounds the                The subsample was confined to respondents who were aged
association between treatment and suicidal ideation. The article            under 18 in 1998, because Turban et al. (2020, p. 3) assumed
therefore provided no evidence to support the recommendation                that they “would have had health care access to GnRHa for
“for this treatment to be made available for transgender adoles-            pubertal suppression.” GnRHa was first used to treat “juvenile
cents who want it” (Turban et al., 2020, p. 7).1                            transsexuals” in the Netherlands in the mid-1990s, with the first
    Turban et al. (2020) analyzed data from the United States               case study published in 1998 (Cohen-Kettenis & van Goozen,
Transgender Survey of 2015 (James et al., 2016). Respond-                   1998; Gooren & Delemarre-van der Waal, 1996). But it took
ents were not sampled from any defined population, but were                 several years for the U.S. to follow suit. An early advocate was
recruited online. This convenience sample excluded those                    Spack, a pediatric endocrinologist at Boston Children’s Hos-
                                                                            pital, who remembers “salivating” when he first heard about
Editor’s note. This Letter was peer reviewed by three members of            the Dutch model (Hartocollis, 2015). Although this hospital
the Editorial Board and myself.                                             provided cross-sex hormones from 1998, puberty blockers were
                                                                            not offered until Spack co-founded its Gender Management
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                                                                               The journal that published the target article, Pediatrics, rejected an
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     Department of Sociology, St Cross College, University                  earlier version of this Letter as an online comment without providing
     of Oxford, 42 Park End Street, Oxford OX1 1JD, UK                      a reason.


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Service in 2007 (Spack et al., 2012). That was the first special-              treatment is compatible with three scenarios: puberty block-
ized gender clinic for children in the U.S. (cf. Zucker, 2015).                ers reduced suicidal ideation; puberty blockers had no effect
Only in 2009 did the Endocrine Society recommend puberty                       on suicidal ideation; puberty blockers increased suicidal idea-
suppression for gender identity disorder (as gender dysphoria                  tion, albeit not enough to counteract the initial negative effect
was then known); Spack helped to write its guidelines (Hem-                    of psychological problems on eligibility. Turban et al. (2020,
bree et al., 2009). “There was an attitudinal shift to be able to              p. 7) acknowledged that “the study’s cross-sectional design…
say that the Endocrine Society supports this,” he recalled a                   does not allow for determination of causation.” Such caution
few years later (Ruttimann, 2013, p. 19). If one had to choose                 was not conveyed in many news reports generated by the study.
a year from which puberty blockers became generally avail-                     “Puberty blockers reduce suicidal thoughts in trans people” ran
able in the U.S., it would be 2009. This periodization is sup-                 a typical headline (LGBTQ Nation, 2020).
ported by complete data on prescriptions of one formulation of                     In sum, then, Turban et al. (2020) contributed nothing to our
GnRHa (histrelin acetate) from 43 children’s hospitals: it was                 knowledge of the effects of suppressing puberty in adolescents.
never prescribed for gender identity disorder between 2004 and                 One study did demonstrate positive psychological effects, based
2009 and was then prescribed to 92 patients from 2010 to 2016                  on measures taken from between 41 and 57 individuals, with
(Lopez, Solomon, Boulware, & Christison-Lagay, 2018). That                     no control group (de Vries, Steensma, Doreleijers, & Cohen-
also accords with Turban and Keuroghlian’s (2018, p. 451) own                  Kettenis, 2011). A second study cited by Turban et al. (2020)
statement that transition for young (American) adolescents has                 actually showed no statistical difference in improvement in psy-
been recommended “[d]uring the past 10 years.” Faulty perio-                   chological functioning between the group prescribed puberty
dization means that Turban et al.’s (2020) subsample included                  blockers and the group given therapy (Biggs, 2019; Costa
older respondents who, in fact, had no opportunity to obtain                   et al., 2015). “Longitudinal clinical trials are needed to better
these drugs and so cannot be used for comparison.                              understand the efficacy of pubertal suppression,” as Turban
   In discussing their results, Turban et al. (2020, p. 7) briefly             et al. (2020, p. 7) observed. It is remarkable that such a call is
admitted the possibility that “those without suicidal ideation                 necessary nearly a quarter of a century after this treatment was
had better mental health when seeking care and thus were                       first proposed.
more likely to be considered eligible for pubertal suppression.”
Indeed, the Endocrine Society’s initial guidelines restricted eli-             Open Access This article is licensed under a Creative Commons Attri-
                                                                               bution 4.0 International License, which permits use, sharing, adapta-
gibility to adolescents who “[d]o not suffer from psychiatric                  tion, distribution and reproduction in any medium or format, as long
comorbidity that interferes with the diagnostic work-up or treat-              as you give appropriate credit to the original author(s) and the source,
ment” and “[h]ave adequate psychological and social support                    provide a link to the Creative Commons licence, and indicate if changes
during treatment” (Hembree et al., 2009, p. 3138). The revised                 were made. The images or other third party material in this article are
                                                                               included in the article’s Creative Commons licence, unless indicated
stipulation is that “[a]ny coexisting psychological, medical, or               otherwise in a credit line to the material. If material is not included in
social problems that could interfere with treatment…have been                  the article’s Creative Commons licence and your intended use is not
addressed, such that the adolescent’s situation and functioning                permitted by statutory regulation or exceeds the permitted use, you will
are stable enough to start treatment” (Hembree et al., 2017, p.                need to obtain permission directly from the copyright holder. To view a
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3878). There is evidence that such guidelines are followed in
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clinical practice, at least to an extent. Gender Management Ser-
vice at Boston Children’s Hospital, for example, does not accept
patients with severe psychopathology (Ruttimann, 2013). Anal-
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ysis of 109 adolescents at one clinic demonstrates that patients               Biggs, M. (2019). A letter to the editor regarding the original article
who reported more psychological and social problems were less                      by Costa et al: Psychological support, puberty suppression, and
likely to receive puberty blockers, controlling for several other                  psychosocial functioning in adolescents with gender dysphoria.
factors (Zucker et al., 2011).                                                     Journal of Sexual Medicine, 16, 2043. https://doi.org/10.1016/j.
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   Psychological problems are, therefore, a confounding fac-
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tor that will create a spurious association between suicidality                    as an aid in diagnosis and treatment of a transsexual adolescent.
and treatment. The confounding could be resolved only if we                        European Child and Adolescent Psychiatry, 7, 246–248.
could properly measure the respondent’s psychological prob-                    Costa, R., Dunsford, M., Skagerberg, E., Holt, V., Carmichael, P., &
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lems before GnRHa was prescribed or withheld.2 Without any                         and psychosocial functioning in adolescents with gender dyspho-
such measures, a negative association found many years after                       ria. Journal of Sexual Medicine, 12, 2206–2214. https://doi.org/
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though the analysis did control for these—albeit poorly, as the vari-              gender identity disorder: A prospective follow-up study. Journal
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